       CASE 0:03-cr-00354-JNE-JGL            Doc. 321      Filed 08/25/11      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

United States of America,

               Plaintiff,
                                                             Criminal No. 03-354(1) (JNE)
v.                                                           Civil No. 11-1556 (JNE)
                                                             ORDER
Robert Leon Roberson,

               Defendant.

       On August 23, 2011, the Court denied Robert Leon Roberson’s motion under 28 U.S.C.

§ 2255 (Supp. III 2009) for the reasons set forth in the government’s response. An appeal cannot

be taken from a final order denying a motion under § 2255 without a certificate of appealability.

28 U.S.C. § 2253(c)(1)(B) (2006); Fed. R. App. P. 22(b)(1). A court cannot issue a certificate of

appealability unless the applicant has made a “substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). “Where a district court has rejected the

constitutional claims on the merits, the showing required to satisfy § 2253(c) is straightforward:

The petitioner must demonstrate that reasonable jurists would find the district court’s assessment

of the constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000).

Here, Roberson has not demonstrated that reasonable jurists would find the rejection of his claim

debatable or wrong. Thus, the Court declines to issue a certificate of appealability.

       Based on the files, records, and proceedings herein, and for the reasons stated above, IT

IS ORDERED THAT:

       1.      Roberson’s § 2255 motion [Docket No. 316 in Criminal No. 03-354(1)] is
               DENIED.




                                                 1
      CASE 0:03-cr-00354-JNE-JGL          Doc. 321       Filed 08/25/11    Page 2 of 2




      2.     A certificate of appealability is DENIED.

      LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: August 25, 2011

                                                          s/ Joan N. Ericksen
                                                          JOAN N. ERICKSEN
                                                          United States District Judge




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